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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           WESTERN DIVISION


 UNITED STATES OF AMERICA

 VS.                               CRIMINAL NO. 5:07-cr-00017-DCB-JCS

Kenny T. Tyler                                                      DEFENDANT


                          AMENDMENT TO ORDER

       This Amendment is before the Court because of the discovery of

 a citation error in the Order (docket entry no. 100) denying the

 defendant Kenny T. Tyler’s Motion To Sever.               Having carefully

reviewed the Order, the Court amends as follows:

       The Order denying the defendant Kenny T. Tyler’s Motion to

Sever, contains a citation error.              The error appears in the

citation of United States v. Perez in the first full paragraph on

 the third page of the Order.          The incorrect citation is United

 States v. Perez, 189 F.3d 51, 67 (5th Cir. 1973).                The correct

 citation of the case is United States v. Perez, 489 F.2d 51, 67

 (5th Cir. 1973).   The correct citation should replace the existing

citation in the Order.

       IT IS HEREBY ORDERED that the Order (docket entry no. 100)

denying Kenny T. Tyler’s Motion to Sever is AMENDED to reflect the

correct citation.

       SO ORDERED, this the     23rd    day of July, 2007.



                                           s/ David Bramlette
                                         United States District Judge
